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 3                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
 4
        SONNY JAMES GUBBINE,                        Case No. 3:19-CV-0127-MMD-CLB
 5
              Plaintiff,                            ORDER SETTING MANDATORY
 6                                                  TELEPHONIC CASE MANAGEMENT
        v.                                          CONFERENCE
 7
        RENEE BAKER, et al.,
 8
              Defendants.
 9

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11           The Court has now screened Plaintiff's complaint pursuant to 28 U.S.C. §

12 1915A(a) and ordered the case to proceed. In order to ensure the just, speedy, and

13 cost-effective resolution of this action, the Court orders the parties attend a mandatory

14 telephonic case management conference as described more fully below.

15           Following the mandatory telephonic case management conference, the Court will

16 issue a full scheduling order following the scheduling conference, setting out additional

17 dates related to discovery and the litigation. No discovery may proceed until the Court

18 enters a full scheduling order following the mandatory telephonic scheduling

19 conference.

20 I.         MANDATORY TELEPHONIC CASE MANAGEMENT CONFERENCE

21           A mandatory telephonic case management conference will be held on Monday,

22 November 23, 2020 at 3:00 p.m. The Attorney General’s Office is directed to make

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 1 the necessary arrangements for the plaintiff’s telephonic appearance and shall provide

 2 the deputy court clerk of the telephone number at which the plaintiff can be reached for

 3 this hearing. The Deputy Attorney General shall dial 877-336-1829 at least five (5)

 4 minutes prior to the hearing to be properly connected into the courtroom. The access

 5 code is 2809752 and the security code is 19127. The parties should be available for

 6 one hour, although the case management conference will likely take less time. The

 7 parties shall be prepared to informally discuss the following issues:

 8         A.     A brief statement of the parties' claims and/or defenses;
 9         B.     The location of potentially relevant documents;
10         C.     Discovery each party intends to take, if any, in addition to the discovery
11 ordered above;

12         D.     A timeline for the scheduling of discovery;
13         E.     Any options or methods for the streamlining discovery;
14         F.     Whether any party intends to challenge the issue of exhaustion;
15         G.     Whether any party intends to use expert witnesses;
16         H.     Whether each party would consent to magistrate judge jurisdiction; and,
17         I.     Any immediate or ongoing issues or requests for injunctive relief regarding
18 current incarceration that could require the court's immediate attention.

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     II.   CASE MANAGEMENT CONFERENCE STATEMENTS
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           At least one-week in advance of the case management conference, each party
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     shall file a case management conference statement. The statement must address the
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     issues listed above, as well as any other issues that the parties believe would assist in
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 1 the scheduling of the case. The statement should include the date that initial disclosures

 2 were served and any deficiencies in either party's disclosures. The statement must not

 3 exceed five (5) pages in length and no exhibits or attachments should be included.

 4 III.   SCHEDULING ORDER
 5        Following the case management conference, the Court will issue a Scheduling
 6 Order and Discovery Plan with the benefit of the input of the parties. Once issued, the

 7 dates in the Scheduling Order and Discovery Plan shall be firm and no extension shall

 8 be given without permission from the Court based on good cause shown.

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10               DATED: November 9, 2020.
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                                             _______________________________
12                                           CARLA BALDWIN
                                             UNITED STATES MAGISTRATE JUDGE
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